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EXHIBITS
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RICHARD FIN KE,

having been sworn by the Notary
Public of the States of New York
and New Jersey, was examined and

testified as follows:

a w F&F WS N He

EXAMINATION BY
- BROWN:

Q. Good morning, Mr. Finke.
10 My na ia Michael Brown. I represent One
11 Beacon, aton, Geico and Republic for the
12 objecting irgurance companies in the Grace
13 bankruptcy. Yd y've been deposed several
14 times before, correct?
15 A. Yes,
16 Q. Okay. can dispense
17 with the formalities of wha

18 deposition's all about?

19 A. Yes, we can.

20 Q. Okay.

21 MS. HARDING: Michael,

22 would you mind if I made a quick
23 statement on the record?

24 MR. BROWN: Sure.

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1 MR. SCHIAVO right,
2 1 Ust ask a few more then.
MS-HARDING: Sorry.
4 BY MR. SCHIAVONI:
5 Q. Sir, are you aware
6 generally whether there are any
7 contractual indemnity agreements with
8 BNSF?
9 A. I am not.
10 Q. Okay. And it's your
11 testimony that contractual -- claims under
12 contractual indemnity claims would be
13 Class 6 claims; is that right?
14 A. Yes, assuming they relate
15 to asbestos, you know, personal injury
16 claims.
17 Q. Okay. To the extent that
18 an insurer was asserting a right through a
19 contractual indemnity by way of
20 subrogation, would that also be a Class 6
21 claim? "
22 A. I believe it is, yes.
23 MR, sCHIAVONI: Thank you,
24 that's all I have.

